







TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN















TEXAS COURT OF APPEALS, THIRD
DISTRICT, AT AUSTIN

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  NO.&nbsp; 03-12-00487-CV
  
 




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J. M. and A. G., Appellants

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v.

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Texas Department of Family and Protective Services,
Appellee

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  FROM THE 207th
  District Court OF Hays COUNTY
  NO. 2011-1242,
  The Honorable William Henry, JUDGE
  PRESIDING
  
 




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  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; O
  R D E R
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  PER CURIAM
  Appellant A. G. filed her notice of appeal on July 16, 2012.&nbsp; The appellate record was complete August 13, 2012, making appellant=s brief due September 4, 2012. To date, appellant=s
  brief has not been filed.
  Recent amendments to the rules of judicial administration accelerate
  the final&nbsp;disposition of appeals from suits for termination of parental
  rights.&nbsp; See Tex. R. Jud. Admin.&nbsp;6.2(a), available at http://www.supreme.courts.state.tx.us/MiscDocket/12/12903200.pdf
  (providing 180 days for court’s final disposition).&nbsp; The accelerated schedule requires greater
  compliance with briefing deadlines.&nbsp;
  Therefore, we order Mr. Luis I. Cuellar to file appellant=s brief no later than September 24, 2012.&nbsp; If the brief is not filed by that date,
  counsel may be required to show cause why he should not be held in contempt
  of court.
  It is ordered on September 7,
  2012.
  &nbsp;
  Before
  Justices Puryear, Pemberton and Henson
  
 


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